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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        BEAUMONT DIVISION

LANTOINETTE WISE AND                                 §
MARLA LANDRY,                                        §
                                                     §
                 Plaintiffs,                         §
                                                     §
v.                                                   §             CIVIL ACTION NO. 1:10-CV-580-TH
                                                     §
CHICAGO BRIDGE & IRON COMPANY,                       §
                                                     §
                                                     §
                 Defendant.                          §


                       ORDER ON STIPULATION OF DISMISSAL
         The Court acknowledges receipt of the parties’ Joint Stipulation of Dismissal with Prejudice [Clerk’s
Docket No. 24], filed on April 20, 2011. Federal Rule of Civil Procedure 41(a)(1)(A)(ii) provides that
“the plaintiff may dismiss an action without a court order by filing . . . a stipulation of dismissal signed
by all parties who have appeared.” FED . R. CIV . P. 41(a)(1)(A)(ii).
         The Court hereby ACKNOWLEDGES that all claims alleged in the above-captioned action
have been dismissed with prejudice by stipulation.
         IT IS THEREFORE ORDERED that all other motions pending before the Court in this
matter are DENIED AS MOOT, and that all costs shall be taxed against the party incurring same. The
Clerk of the Court is DIRECTED to close this case file.
         SO ORDERED.
         SIGNED this the 6 day of September, 2011.




                                          ____________________________
                                          Thad Heartfield
                                          United States District Judge
